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From: Lian, Bob <blian@AKINGUMP.COM>
Sent: Friday, December 18, 2020 4:15 PM
To: Tim Cutler <tim@cutlerlegal.com>
Cc: Casaceli, Brian M. <bcasaceli@mirickoconnell.com>; Van Nostrand, Richard C. <rvannostrand@mirickoconnell.com>;
Heise, Kate <kheise@akingump.com>
Subject: Your letter dated December 9, 2020

Timothy – We’ve not yet met before, but Kate and I are working with Brian and Rich on the Wasgatt matter for Allstate.

We’ve been in contact with Allstate to investigate the issues raised in your December 9, 2020 letter alleging misuse of
Paul Wasgatt’s name and likeness by Allstate.

There are a few additional details we need to confirm. We expect to be able to provide a response to you before the
Christmas holiday.

Thanks for your patience.

Sincerely,

Bob Lian

Robert G. Lian Jr.
AKIN GUMP STRAUSS HAUER & FELD                    LLP

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